      Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 1 of 10




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

41-45 PROPERTY OWNER, LLC,               Case No. 1:22-cv-08634 (LGS)

                Plaintiff and Counter-
                Defendant,

             -against-

CDM1, LLC,

             Defendant and Counter-
             Plaintiff




               CDM1’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                        PARTIAL MOTION TO DISMISS




                                            ARENTFOX SCHIFF LLP

                                            Frederick J. Sperling
                                            Adam Diederich
                                            ArentFox Schiff LLP
                                            233 South Wacker Drive
                                            Suite 7100
                                            Chicago, IL 60606
                                            frederick.sperling@afslaw.com
                                            adamdiederich@afslaw.com
                                            Admitted Pro Hac Vice

                                            Brittany H. Sokoloff
                                            ArentFox Schiff LLP
                                            1301 Avenue of the Americas
                                            42nd Floor
                                            New York, NY 10019
                                            brittany.sokoloff@afslaw.com

                                            Attorneys for Defendant and Counter-
                                            Plaintiff CDM1, LLC.
             Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 2 of 10




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT ................................................................................................... 1

FACTUAL BACKGROUND ........................................................................................................ 2

STANDARDS ON THIS MOTION .............................................................................................. 4

ARGUMENT ................................................................................................................................. 4

CONCLUSION .............................................................................................................................. 6




                                                                    -i-
            Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 3 of 10




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

1357 Tarrytown Rd. Auto, LLC v. Granite Properties, LLC,
   142 A.D.3d 976 (2d Dep’t. 2016) ..............................................................................................5

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................4

Cohen v. S.A.C. Trading Corp.,
   711 F.3d 353 (2d Cir. 2013).......................................................................................................4

Conopco, Inc. v. Roll Int’l,
   231 F.3d 82 (2d Cir. 2000).........................................................................................................4

Murphy v. Am. Home Prods. Corp.,
  58 N.Y.2d 293 (1983) ................................................................................................................5

Estate of Richter v. Novo Corp.,
   43 A.D.2d 1 (1st Dep’t. 1973) ...................................................................................................4

Smith v. Putnam,
   145 A.D.2d 383 (1st Dep’t. 1988) .............................................................................................6

Rules

Federal Rule of Civil Procedure 12(b)(6) ........................................................................................4




                                                                   -ii-
         Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 4 of 10




                                PRELIMINARY STATEMENT

       The contract that governs this case is an Option Agreement that sets out obligations with

which the parties must comply. The Option Agreement contains a liquidated damages clause that

limits the damages 41-45 Property Owner, LLC (“Sponsor”) can obtain in the event of CDM1,

LLC’s default and Sponsor’s cancellation of the Option Agreement. Based on the liquidated

damages clause, the Court should dismiss Sponsor’s claim for breach of the implied covenant of

good faith and fair dealing.

       In October 2017 Sponsor and CDM1 entered into an Option Agreement for the purchase

of apartment PH-58 at 520 Park Avenue, New York, New York (“PH-58”) (the “Option

Agreement”). The deal did not close. Sponsor asserted that CDM1 defaulted (it did not), and

Sponsor then cancelled the Option Agreement.        Ignoring the plain language of the Option

Agreement’s liquidated damages clause, Sponsor now seeks not only liquidated damages for

breach of contract (in Count I) but also additional damages for breach of the implied covenant of

good faith and fair dealing (in Count II).

       There is no set of facts under which Sponsor can recover under its second cause of action.

If this Court were to find that CDM1 breached the Option Agreement, CDM1’s damages would

be explicitly limited to the $8.5 million CDM1 paid towards the purchase of the apartment (the

“Premium Payment”) and any Unit Upgrade Funds (there are none and Sponsor alleges none).

The plain language of the Option Agreement bars Sponsor from recovering for anything else,

specifically here damages for an alleged breach of the covenant of good faith and fair dealing. If

this Court instead were to find that Sponsor breached and prematurely cancelled the Option

Agreement, CDM1 would be entitled to return of the Premium Payment. There is no set of facts

under which Sponsor would be found to have breached the Option Agreement and CDM1 would

be found to have breached the implied covenant of good faith and fair dealing. For this reason,
         Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 5 of 10




Sponsor’s second cause of action for breach of the implied covenant of good faith and fair dealing

must fail.

                                 FACTUAL BACKGROUND 1

       In October 2017, CDM1 entered into an Option Agreement with Sponsor for the purchase

of PH-58. (Compl., ECF No. 17, ¶ 15.) Upon signing the Option Agreement, CDM1 paid Sponsor

the $8.5 million Premium Payment. (Id. ¶¶ 18, 27.)

       Because PH-58 was located adjacent to the Fire Suppression Tank Room (defined in the

Offering Plan as “the double height room containing fire suppression tank and accessory pumps

for the Building’s fire protection system” (Compl., Ex. A, ECF No. 17-1, at p. 17)), CDM1

specifically requested, and Sponsor agreed, to include Paragraph 17.3 of the Option Agreement,

which states:

                Prior to the date of Closing of Title to the Unit, Sponsor will have
                taken all reasonable measures to test, verify and specifically
                ensure Purchaser that the mechanical functioning of said Tank
                and Pump system does not create any sound or noise that will
                impair Purchaser’s quiet enjoyment and use of the Unit, except
                in an emergency or routine maintenance.

(Id. ¶¶ 20, 22; Compl., Ex. B, ECF No. 17-5, ¶ 17.3, emphasis in original.)

       In advance of the closing, CDM1 asked Sponsor what steps it had taken to comply with

Paragraph 17.3 of the Option Agreement and explained that absent Sponsor’s compliance with

Paragraph 17.3, CDM1 would not attend the closing. (Compl. ¶ 35.) Sponsor rescheduled the

closing for February 8, 2019 and, in response to CDM1’s request that Sponsor comply with

Paragraph 17.3, Sponsor retained a consulting firm to prepare a report (the “SM&W Report”). (Id.

¶¶ 42, 43.) Sponsor’s consultant, however, only tested the noise levels when the Automatic Fire


1
 The facts are taken from the Complaint (cited as “Compl. ¶ __”) and the exhibits thereto (cited
as “Compl., Ex. __). CDMI disputes many of the allegations but accepts the facts alleged for
purposes of this motion.


                                                -2-
         Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 6 of 10




Pump was inactive; it did not test the noise levels while the Automatic Fire Pump was operational.

(Id. ¶ 45.) For this reason and others, CDM1 objected to the SM&W Report for failing to satisfy

Sponsor’s obligations under Paragraph 17.3. (Id.) CDM1 requested additional information

regarding the Tank and Pump System to which it was entitled under Paragraph 17.3 of the Option

Agreement that required Sponsor to “specifically ensure” CDM1 that the “system does not create

any sound or noise that will impair Purchaser’s quiet enjoyment and use of the Unit” (Compl., Ex.

B, ¶ 17.3), which Sponsor declined to provide. (Compl. ¶¶ 46-47.)

       The deal never closed. Sponsor sent CDM1 a notice of default for refusing to close, which

Sponsor alleges CDM1 “failed to cure.” (Id. ¶¶ 48, 53.) Under Paragraph 13.2 of the Option

Agreement, in the event of an uncured default (CDM1 denies that it defaulted), Sponsor had the

option to cancel the Option Agreement and retain the Premium Payment and any Unit Upgrade

Funds (defined in the Offering Plan as “all amounts expended by, or reimbursable to, Sponsor for

upgrades or extras ordered by Purchaser and agreed to in writing by Sponsor” (Compl., Ex. A,

ECF No. 17-1, at p. 31)) as liquidated damages:

               TIME IS OF THE ESSENCE with respect to Purchaser’s
               obligations to pay the Exercise Price and to pay, perform or comply
               with Purchaser’s other obligations under this Agreement. Upon the
               occurrence of an Event of Default, Sponsor, in its sole discretion,
               may elect by notice to Purchaser to cancel this Agreement. If
               Sponsor elects to cancel, Purchaser shall have 30 days from the
               giving of the notice of cancellation to cure the specified default.
               If the default is not cured within such 30 days, TIME BEING
               OF THE ESSENCE, then this Agreement shall be deemed
               cancelled, and Sponsor shall have the right to retain, as and for
               liquidated damages, (a) the entire Premium Payment and any
               interest earned on the Premium Payment and (b) Unit Upgrade
               Funds. Upon the cancellation of this Agreement, Purchaser and
               Sponsor will be released and discharged of all further liability
               and obligations hereunder and under the Plan, and the Unit may
               be sold to another as though this Agreement had never been made,
               and without any obligation to account to Purchaser for any of the
               proceeds of such sale.



                                               -3-
         Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 7 of 10




(Id. ¶ 50; Compl., Ex. B, ¶ 13.2, emphasis added.)

       Sponsor cancelled the Option Agreement and has retained the Premium Payment. (Compl.

¶¶ 53, 64; Compl., Ex. C, ECF No. 17-6.) Sponsor does not allege CDM1 paid or owed any Unit

Upgrade Funds, the only other funds to which Sponsor could be entitled under the Option

Agreement. (See Compl., Ex. B, ¶ 13.2.). Nevertheless, Sponsor’s cause of action for breach of

the covenant of good faith and fair dealing seeks as damages the “additional costs of approximately

$2,400,000 to eliminate Purchaser’s modifications and restore PH-58 to its original completed

state to render the unit marketable to future purchasers.” (Compl. ¶ 81.)

                               STANDARDS ON THIS MOTION

       CDM1 brings this motion to dismiss under Federal Rule of Civil Procedure 12(b)(6). To

survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face.’” Cohen v. S.A.C.

Trading Corp., 711 F.3d 353, 359 (2d Cir. 2013) (quoting Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009)). Dismissal under Rule 12(b)(6) is appropriate when “it is clear from the face of the

complaint, and matters of which the court may take judicial notice, that the plaintiff’s claims are

barred as a matter of law.” Conopco, Inc. v. Roll Int’l, 231 F.3d 82, 86 (2d Cir. 2000).

                                          ARGUMENT

       Sponsor seeks more than the agreed upon liquidated damages set forth in the Option

Agreement by bringing a claim for breach of the implied covenant of good faith and fair dealing.

New York courts have held that “[t]he provision for liquidated damages in a contract specifically

limits the amount recoverable for the breach no matter how occasioned nor to what extent the

actual damage may be.” Estate of Richter v. Novo Corp., 43 A.D.2d 1, 3 (1st Dep’t. 1973). By

cancelling the Option Agreement, Sponsor opted to retain the Premium Payment held in Escrow




                                                 -4-
         Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 8 of 10




as liquidated damages and to release CDM1 from all further liability and obligations. Sponsor

cannot recover additional damages under the implied covenant of good faith and fair dealing.

       Sponsor’s claim for breach of the implied covenant of good faith and fair dealing cannot

be reconciled with the explicit and unambiguous language in the Option Agreement limiting

damages to retention of the Premium Payment. The duties of good faith and fair dealing do not

imply obligations “inconsistent with other terms of the contractual relationship.” Murphy v. Am.

Home Prods. Corp., 58 N.Y.2d 293, 304 (1983). See also 1357 Tarrytown Rd. Auto, LLC v.

Granite Properties, LLC, 142 A.D.3d 976, 977 (2d Dep’t. 2016) (“[N]o obligation may be implied

that would be inconsistent with other terms of the contractual relationship.”). Here, Sponsor’s

attempt to use the implied covenant to construe the Option Agreement to recover more than

liquidated damages contradicts the express language of Paragraph 13.2 of the Option Agreement.

       Paragraph 13.2 states that, if the Agreement is cancelled, Sponsor “shall have the right to

retain, as and for liquidated damages, (a) the entire Premium Payment and any interest earned on

the Premium Payment and (b) Unit Upgrade Funds” and that “[u]pon cancellation . . . Purchaser

and Sponsor will be released and discharged of all further liability . . . .” (See Compl. ¶ 50; Compl.,

Ex. B ¶ 13.2.) Sponsor’s claim for breach of the covenant of good faith and fair dealing seeks

damages in excess of what is recoverable under Paragraph 13.2. Once Sponsor opted to cancel the

Option Agreement, it discharged CDM1 from all further liability and limited its damages to the

Premium Payment and any Unit Upgrade Funds.

       Paragraph 13.2 does not entitle Sponsor to the “additional costs” it allegedly incurred “to

eliminate Purchaser’s modifications” to PH-58 because such alleged additional costs by definition

are not Unit Upgrade Funds. (See Compl. ¶ 81; Compl., Ex. A, ECF No. 17-1, at p. 31.) On the

basis of Paragraph 13.2, Sponsor may only recover liquidated damages and may not seek




                                                 -5-
         Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 9 of 10




additional damages. See Smith v. Putnam, 145 A.D.2d 383, 384-85 (1st Dep’t. 1988) (explaining

that where the contract contains a provision permitting the seller to elect to cancel the contract and

“be entitled to and retain the escrow balance as liquidated damages, the same as if this agreement

had never been made” in the event of buyer’s default, “plaintiffs cannot both retain the down

payment as liquidated damages and recover additional damages” (brackets and internal quotation

marks omitted)).

       Nor is Sponsor entitled to assert this claim in the alternative to its claim for breach of

contract. There is no set of facts in which Sponsor would be entitled to recover damages under

the covenant of good faith and fair dealing. If Sponsor were to succeed on its claim for breach of

contract and be entitled to retain the Premium Payment, the Option Agreement would limit

Sponsor’s damages to that amount. If the Court instead finds that CDM1 did not breach the Option

Agreement, Sponsor will not be entitled to damages for the “additional costs” it incurred “to

eliminate [CDM1’s] modifications” (see Compl. ¶ 81) because those costs would have been caused

by Sponsor’s breach and termination of the Option Agreement. The plain language of the Option

Agreement makes recovery under the implied covenant of good faith and fair dealing impossible.

                                          CONCLUSION

       For the foregoing reasons this Court should dismiss the second cause of action in

Complaint against CDM1 with prejudice.




                                                 -6-
      Case 1:22-cv-08634-LGS Document 32 Filed 01/20/23 Page 10 of 10




Dated: New York, New York             ARENTFOX SCHIFF LLP
       January 20, 2023


                                      By:
                                            Brittany H. Sokoloff
                                            ArentFox Schiff LLP
                                            1301 Avenue of the Americas
                                            42nd Floor
                                            New York, NY 10019
                                            brittany.sokoloff@afslaw.com
                                            Telephone: 212.484.3900
                                            Facsimile: 212.484.3990

                                            Frederick J. Sperling
                                            Adam Diederich
                                            ArentFox Schiff LLP
                                            233 South Wacker Drive
                                            Suite 7100
                                            Chicago, IL 60606
                                            frederick.sperling@afslaw.com
                                            adam.diederich@afslaw.com
                                            Admitted Pro Hac Vice

                                      Attorneys for Defendant and Counter-Plaintiff
                                      CDM1, LLC




                                    -7-
